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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

    Securities & Exchange Commission,                            Case No.: 9:20-cv-81205-RAR

                   Plaintiff,

    v.

    Complete Business Solutions
    Group, Inc.,

                   Defendant.
                                          /

                  [PROPOSED] ORDER GRANTING MOTION TO APPEAR
              PRO HAC VICE, CONSENT TO DESIGNATION AND REQUEST TO
             ELECTRONICALLY RECEIVE NOTICES OF ELECTRONIC FILING

           THIS CAUSE having come before the Court on the Motion to Appear Pro Hac Vice for

    Clifford E. Haines, Esq., Consent to Designation, and Request to Electronically Receive Notices

    of Electronic Filing (the “Motion”), pursuant to the Rules Governing the Admission, Practice,

    Peer Review, and Discipline of Attorneys in the United States District Court for the Southern

    District of Florida and Section 2B of the CM/ECF Administrative Procedures. This Court,

    having considered the Motion and all other relevant factors, it is hereby

           ORDERED AND ADJUDGED that:

           The Motion is GRANTED. Clifford E. Haines, Esq. may appear and participate in this

    action on behalf of non-parties Mark Nardelli, Francis Cassidy, David Gollner and Christopher
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    McMarrow. The Clerk shall provide electronic notification of all electronic filings to Clifford E.

    Haines, Esq., at chaines@haines-law.com.

           DONE AND ORDERED in Chambers at                                               , Florida,

    this    day of                       , 2021.

                                                         ________________________________
                                                         HON. RODOLFO A. RUIZ II
                                                         UNITED STATES DISTRICT JUDGE


    Copies furnished to: All Counsel of Record
